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                           UNITED STATES DISTRICT COURT
5
                        SOUTHERN DISTRICT OF CALIFORNIA
6
     UNITED STATES OF AMERICA            ) No. 15-cr-1194-JLS
7                                        )
                       Plaintiff,        ) ORDER ON JOINT MOTION FOR
8                                        ) CONTINUNACE
         v.                              )
9                                        )
                                         )
10   ROBERT ALLEN FESTA,                 )
                                         )
11                     Defendant.        )
                                         )
12
13        The United States of America and defendant ROBERT FESTA
14   jointly move to continue the supervised release revocation hearing
15   set for May 14, 2021.       For reasons stated in the joint motion,
16   incorporated by reference herein, the court finds the ends of
17   justice served by granting the requested continuance.
18        IT IS ORDERED that the joint motion is granted, and the
19   supervised release revocation hearing shall be continued to June
20   18, 2021 at 2:00pm.
21        IT IS SO ORDERED.
22   Dated: May 12, 2021
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